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11
                          UNITED STATES DISTRICT COURT
12
                         NORTHERN DISTRICT OF CALIFORNIA
13                           SAN FRANCISCO DIVISION

14   IN RE: SUBPOENAS TO META
                                               Case No. 3:25-mc-80165-TSH
     PLATFORMS, INC. AND PINTEREST,
15   INC.
                                               PINTEREST, INC.’S OPPOSITION
16   Served in case: Jones, et al. v. Abel, et TO MOTION TO COMPEL
17   al., S.D.N.Y. 1:25-cv-00779-UA
                                                  Date: TBD
                                                  Time: TBD
18
                                                  Judge: Hon. Thomas S. Hixson
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1                                 I.      INTRODUCTION
2          This matter arises from the very public dispute between actors Justin Baldoni
3    and Blake Lively, the stars of the 2024 film It Ends With Us. Petitioners Stephanie
4    Jones and Jonesworks LLC (Petitioners) are the former public relations
5    representatives for Mr. Baldoni who are currently suing Mr. Baldoni and others in the
6    Southern District of New York for alleged misconduct stemming from the Baldoni-
7    Lively dispute. As part of that litigation, Petitioners issued a subpoena to nonparty
8    Pinterest, Inc. (Pinterest) for, among other things, identifying information regarding
9    a Pinterest profile that has allegedly defamed Petitioners. Pinterest objected to the
10   subpoena and Petitioners now move to compel compliance.
11         The Court should deny Petitioners’ motion because they have failed to carry
12   their burden to overcome the Pinterest user’s First Amendment right to engage in
13   anonymous speech. When a litigant subpoenas a service provider like Pinterest for an
14   anonymous user’s identifying information, the First Amendment requires the
15   requesting party to demonstrate a prima facie case on the merits of their underlying
16   claim. Petitioners claim the discovery sought by the subpoena is necessary for their
17   defamation claim, but Petitioners are limited purpose public figures who must
18   sufficiently allege any defamatory statements were made with actual malice.
19   Petitioners, however, do not address the actual malice standard at all in their motion
20   to compel. Accordingly, Petitioners have failed to carry their burden under the First
21   Amendment and Pinterest respectfully requests that the Court deny their motion to
22   compel.
23                                 II.     BACKGROUND
24         The Baldoni-Lively dispute has attracted a great deal of public attention. See,
25   e.g., Megan Twohey, Mike McIntire and Julie Tate, ‘We Can Bury Anyone’: Inside a
26   Hollywood    Smear    Machine,      N.Y.   TIMES,   Dec.     22,   2024,   available   at
27   https://www.nytimes.com/2024/12/21/business/media/blake-lively-justin-baldoni-it-
28   ends-with-us.html. Petitioners’ Complaint stems from that dispute and was filed in
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1    New York against Mr. Baldoni and others on December 24, 2024. See ECF No. 1-2.1
2    The Complaint alleges, among other things, that certain defendants used the Baldoni-
3    Lively dispute to attack Petitioners’ reputation and steal their business. Id. ¶¶ 46-
4    106. As relevant to the pending motion to compel, Petitioners’ Complaint alleges that
5    certain John Doe defendants created two websites (www.stephaniejonesleaks.com and
6    www.stephaniejoneslies.com) and unidentified social media accounts that promoted
7    those websites as part of a conspiracy to defame Petitioners. Id. ¶¶ 23, 92-93.
8          In an apparent effort to learn who was behind one of the unidentified social
9    media accounts mentioned in their Complaint, Petitioners issued a subpoena to
10   Pinterest for:
11
               1. All communications and documents between Pinterest, Inc.
12
                  and the owner of the account “stephaniejonesleaks”
13                including but not limited to any principal, agent, or
                  employee of the owner of the account, or its affiliates.2
14
               2. Any agreement entered into between Pinterest, Inc. and
15
                  the owner of the account “stephaniejonesleaks” including
16                but not limited to any Terms of Service or License
                  Agreement.
17
               3. All     subscriber    information     for    the     account
18
                  “stephaniejonesleaks” including but not limited to: (a) the
19                name(s), address(es), telephone number(s), and email
                  address(es) provided during the registration process (b)
20                any identification documents, verification materials, or
21                correspondence submitted in connection with the account’s
                  registration or verification, and; (c) any documents
22                reflecting changes to account registration details over time.

23   See ECF No. 1-5.

24         Pinterest objected to the subpoena, see ECF No. 1-6, and Petitioners now move

25

26   1 The defendants removed the Complaint from state court to the U.S. District Court

     for the Southern District of New York on January 27, 2025. See ECF No. 1 in S.D.N.Y
27
     Case No. 1:25-cv-00779.
28
     2
       Request number one is moot because Pinterest has no communications with the user,
     and user notice of this motion was sent to the user by Pinterest’s counsel.
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1    to compel Pinterest’s compliance with the subpoena.
2                                    III.    ARGUMENT
3           A.     The First Amendment protects anonymous speech on the
4                  internet.

5           Petitioners assert that “[t]he Ninth Circuit has repeatedly held that the First

6    Amendment does not protect subscriber information from discovery.” ECF No. 1 at 11.

7    Not so. As this Court has held, “[t]he First Amendment protects the rights of

8    individuals to speak anonymously” and “[t]he Ninth Circuit recognizes that the

9    decision to remain anonymous extends to anonymous speech made on the internet.”

10   Castro v. Doe, No. 23-MC-80198-TSH, 2023 WL 9232964, at *3 (N.D. Cal. Oct. 12,

11   2023) (citing In re Anonymous Online Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011)

12   (“[O]nline speech stands on the same footing as other speech – there is ‘no basis for

13   qualifying the level of First Amendment scrutiny that should be applied’ to online

14   speech.”) (quoting Reno v. Am. Civil Liberties Union, 521 U.S. 844, 870 (1997)).

15   Accordingly, an anonymous internet user’s subscriber information is presumptively

16   protected by the First Amendment and “[w]hen third-party providers such as

17   [Pinterest] receive subpoenas to produce identifying information of posters of

18   anonymous speech, courts apply the appropriate First Amendment standard to ensure

19   that a person’s right to anonymous speech is protected.” Castro, 2023 WL 9232964, at

20   *3 (collecting cases).

21          “Operationally, the inquiry consists of two steps.” Id. (quoting In re DMCA §

22   512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d 868, 876 (N.D. Cal. 2022)). “First,

23   the party seeking the disclosure must demonstrate a prima facie case on the merits of

24   its underlying claim. Second, the court balances the need for the discovery against the

25   First Amendment interest at stake.” Castro, 2023 WL 9232964, at *3 (quoting In re

26   DMCA § 512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d at 876). While this Court

27   has allowed discovery of subscriber information over a First Amendment objection in

28   some circumstances, it has also denied requests for subscriber information on First

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1    Amendment grounds on many occasions. See, e.g., In re Subpoena to: Reddit, Inc., 24-
2    mc-80005, 2024 WL 477519, at *5 (N.D. Cal. Feb. 7, 2024) (denying motion to compel
3    Reddit to produce subscriber information); In re DMCA § 512(h) Subpoena to Twitter,
4    Inc., 608 F. Supp. 3d at 883 (denying motion to compel Twitter to produce subscriber
5    information); Music Group Macao Commer. Offshore Ltd. v. Does, 82 F. Supp. 3d 979,
6    982 (N.D. Cal. 2015) (denying motion to compel Glassdoor to produce subscriber
7    information); Art of Living Found. v. Does 1-10, No. 10-CV-05022-LHK, 2011 WL
8    5444622, at *1 (N.D. Cal. Nov. 9, 2011) (denying motion to compel Google and
9    Automattic to produce subscriber information); Highfields Capital Mgmt., L.P. v. Doe,
10   385 F. Supp. 2d 969, 971 (N.D. Cal. 2005) (granting motion to quash subpoena for
11   Yahoo! subscriber information).
12         Petitioners ignore those cases, while citing a series of cases that are factually
13   inapposite and do not support the incorrect suggestion that subscriber information is
14   wholly unprotected by the First Amendment. The London v. Does 1-4 case that
15   Petitioners rely upon involved an application under 28 U.S.C. § 1782 for discovery
16   regarding certain email accounts for use in a divorce in St. Martin. 279 F. App’x 513,
17   514 (9th Cir. 2008). The Ninth Circuit allowed that discovery because “Appellants
18   cite[d] no authority for the proposition that the First Amendment bars release of
19   identifying data for email accounts used to solicit sex partners on the Internet.” Id. at
20   515. Those facts in an overseas divorce case are a far cry from the facts of this case,
21   and in any event, the Ninth Circuit panel in London v. Does 1-4 did not suggest that
22   the First Amendment leaves anonymous internet users’ subscriber information wholly
23   unprotected.
24         The United States v. Meta Platforms, Inc. case that Petitioners cite also
25   involved a § 1782 application, this time for discovery regarding certain Instagram
26   accounts for use in a civil case in South Korea. No. 23-MC-80249-PHK, 2023 WL
27   8438579, at *1 (N.D. Cal. Dec. 5, 2023). The court noted that “United States citizens,
28   whether inside or outside of United States territory, possess First Amendment rights,”

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1    while “[f]oreign citizens who are outside United States territory, by contrast, do not
2    possess any rights under the United States Constitution, including under the First
3    Amendment.” Id. at *6. Because there was “nothing in the present record indicating
4    the unidentified defendant(s) in the underlying Korean civil action are entitled to First
5    Amendment protections,” the court permitted the discovery. Id. That case has no
6    bearing on this matter, which involves a U.S. civil proceeding among U.S. residents.
7          Petitioners also cite Chevron Corp. v. Donziger, which sought discovery
8    regarding certain email accounts, and is a case where this Court discussed the Ninth
9    Circuit’s opinion finding that the First Amendment presumptively protects subscriber
10   information. No. 12–MC–80237 CRB, 2013 WL 4536808, at *6 (N.D. Cal. Aug. 22,
11   2013) (discussing In re Anonymous Online Speakers, 661 F.3d at 1177). In Chevron,
12   the court ultimately rejected the First Amendment objections because the subpoenas
13   at issue were “not seeking to link the identity of the email subscribers with the receipt
14   of particular statements” nor did the movants “satisfactorily show[] that their actions
15   were anonymous.” 2013 WL 4536808 at *7-*8. Those facts are the polar opposite of
16   this case, where Petitioners are trying to link the Pinterest user to allegedly
17   defamatory statements and the user is indisputably anonymous.
18         Finally, the Smythe v. Does 1-10 case that Petitioners cite involved allegations
19   that unknown internet users were engaged in “cyber harassment and cyberstalking”
20   of the plaintiff as well as the use of “hacked passwords to access and control
21   [plaintiff’s] website and email accounts.” No. CV 15-4801-R, 2015 WL 12819173, at *1
22   (C.D. Cal. Sept. 25, 2015). While the court acknowledged “the First Amendment
23   provides some rights regarding anonymity,” it permitted the plaintiff to obtain the
24   requested subscriber information because “[a]n assertion of anonymity for fear of
25   being connected to potentially illegal action is unpersuasive.” Id. at *2. Nothing in
26   Smythe supports Petitioners’ claim that subscriber information is per se unprotected
27   by the First Amendment, nor do that case’s allegations of serious criminal acts by the
28   anonymous users provide this Court with any relevant factual precedent for how to

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1    resolve the subpoena issued to Pinterest.
2          In sum, the subscriber information at issue here is presumptively protected by
3    the First Amendment and the Court must assess whether Petitioners have
4    demonstrated a prima facie case on the merits of their defamation claim before
5    compelling Pinterest to comply with the subpoena. See Castro, 2023 WL 9232964, at
6    *3. For the reasons below, Pinterest respectfully submits that Petitioners have failed
7    to carry their burden.
8          B.     Petitioners are limited purpose public figures who have failed
                  to make a prima facie showing that the allegedly defamatory
9                 statements were made with actual malice.
10         Petitioners claim to have made a prima facie showing of their defamation
11   claims, but nowhere in Petitioners’ motion do they address the actual malice standard
12   that applies to defamation claims brought by limited purpose public figures. That is
13   fatal to their motion because Petitioners are limited purpose public figures with
14   respect to the Baldoni-Lively dispute.
15         In the Second Circuit, where Petitioners’ underlying case is pending, 3
16   “[l]imited-purpose public figures who seek damages for defamatory statements must
17   show that the statements were made with ‘actual malice’—that is, with knowledge
18   that the statements were false or with reckless disregard as to their falsity.” Biro v.
19   Conde Nast, 807 F.3d 541, 544 (2d Cir. 2015). “Whether or not a person or an
20   organization is a public figure is a question of law for the court to decide.” Biro v.
21   Conde Nast, 963 F. Supp. 2d 255, 270 (S.D.N.Y. 2013). “[O]nce a plaintiff is deemed a
22   limited purpose public figure, courts allow the heightened protections to sweep
23   broadly, covering all statements by defendants that are not wholly unrelated to the
24   controversy.” Id. at 271 (cleaned up).
25         The Second Circuit’s test for determining whether Petitioners are limited
26

27   3 The governing law in the court where the underlying case is pending controls the

28   prima facie claim analysis. See, e.g., Castro, 2023 WL 9232964, at *3 (analyzing Texas
     law to determine “whether plaintiff has a viable defamation claim.”).
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1    purpose public figures requires an assessment of whether Petitioners have:
2
                  (1) successfully invited public attention to [their] views in
3                 an effort to influence others prior to the incident that is the
                  subject of litigation; (2) voluntarily injected [themselves]
4                 into a public controversy related to the subject of the
                  litigation; (3) assumed a position of prominence in the
5
                  public controversy; and (4) maintained regular and
6                 continuing access to the media.

7    Biro, 963 F. Supp. 2d at 270 (quoting Lerman v. Flynt Distrib. Co., Inc., 745 F.2d 123,
8    136–37 (2d Cir. 1984)). Petitioners satisfy all four elements of this test with respect
9    to the Baldoni-Lively dispute.
10         Regarding the first element, Petitioners have successfully invited public
11   attention to their views in an effort to influence others by dint of their self-proclaimed
12   status as “internationally recognized public-relations and strategic-communications”
13   experts with “a roster of prominent corporate, entertainment, and sports clients[.]”
14   ECF No. 1-16 at ¶¶ 1-2 (Declaration of Stephanie Jones). The Counterclaim-Plaintiffs
15   in the underlying suit further allege that one of the Petitioners is half of a “bona fide
16   Hollywood power couple” by virtue of her marriage to a prominent talent agent. ECF
17   No. 1-9 at ¶ 12 (Counterclaims of Jennifer Abel); see also ECF No. 1-12 at ¶ 12
18   (Counterclaims of Wayfarer Studios LLC). These admissions and allegations are
19   sufficient to establish that Petitioners have invited public attention to their views on
20   public-relations and strategic-communications in the entertainment industry prior to
21   the Baldoni-Lively dispute. See Biro, 963 F. Supp. 2d at 271 (plaintiff’s proclamations
22   that he was a “leading authority” in his field were sufficient to establish he had
23   invited public attention to his views).
24         As for the second and third elements, Petitioners have voluntarily injected
25   themselves into the Baldoni-Lively dispute and assumed a position of prominence in
26   it. This is evidenced by an email purportedly sent by Petitioners claiming,
27
                  I have been deeply involved in strategy, planning, account
28                management and high level PR and media comms as well

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                   as crisis until you asked me to stop communicating on
1
                   behalf of Justin and Wayfarer on 8/9/24 and allow only
2                  Jennifer, Matthew and team to handle. I’ve been on set
                   during shoots and have had numerous calls weekly with
3                  my team and yours as well as many with Justin,
                   particularly regarding Blake, often at 11 pm, 1am ET (New
4
                   York). My commitment spans not only the past eight years
5                  but also the last four since you joined.

6    See ECF No. 1-12 at ¶ 48 (Counterclaims of Wayfarer Studios LLC); ECF No. 1-9 at ¶
7    79 (Counterclaims of Jennifer Abel).4 The Counterclaim-Plaintiffs further allege that
8    Petitioners injected themselves into the Baldoni-Lively dispute and assumed a
9    position of prominence in it by:
10                making a “desperate attempt to re-insert [themselves in the Baldoni-
                   Lively dispute] and contact[ing] a Daily Mail reporter about a story they
11
                   had published about Baldoni and Lively,” ECF No. 1-9 at ¶ 81
12                 (Counterclaims of Jennifer Abel); see also ECF No. 1-12 at ¶ 40
                   (Counterclaims of Wayfarer Studios LLC);
13
                  “advocating for a more aggressive public relations strategy” by
14
                   “promot[ing] positive narratives that media outlets cannot ignore” and
15                 “mobiliz[ing] a robust network of supporters and third-party advocates,”
                   ECF No. 1-12 at ¶¶ 45-46 (Counterclaims of Wayfarer Studios LLC); and
16
                  providing one of the Counterclaim-Plaintiff’s private communications to
17
                   Ms. Lively and others. See ECF No. 1-9 at ¶¶ 90-91 (Counterclaims of
18                 Jennifer Abel).

19         Finally, as public-relations and strategic-communications experts in the
20   entertainment industry, Petitioners necessarily maintain regular and continuing
21   access to the media in satisfaction of the fourth element. See Biro, 963 F. Supp. 2d at
22

23
     4 The Baldoni-Lively dispute has generated strongly held views among the public and
24
     thus qualifies as a public controversy for purposes of this analysis. See Biro, 963 F.
25   Supp. 2d at 272 (“A public controversy is simply any topic upon which sizeable
     segments of society have different, strongly held views, even if the topic does not
26   involve political debate or criticism of public officials.”) (cleaned up); see also Perez
     Hilton, Blake Lively Or Justin Baldoni? Whose Side Is The Internet On?,
27
     PEREZHILTON.COM (Jan. 3, 2025), https://perezhilton.com/internet-reactions-
28   blake-lively-justin-baldoni-it-ends-with-us-legal-drama/ (“From the looks of it, folks
     have very strong opinions — on both sides.”).
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1    275 (finding that plaintiff “enjoys significantly greater access to the channels of
2    effective communication than the average private person, and hence has a more
3    realistic opportunity to counteract false statements th[a]n private individuals
4    normally enjoy.”) (cleaned up). Indeed, Petitioners have allegedly admitted as much
5    with respect to this specific dispute. See ECF No. 1-12 at ¶ 48 (Counterclaims of
6    Wayfarer Studios LLC) (quoting Petitioners as claiming to “have been deeply involved
7    in . . . high level PR and media comms”). Petitioners therefore qualify as limited
8    purpose public figures with respect to the Baldoni-Lively dispute.
9          As limited purpose public figures, Petitioners bear the “onerous task” of alleging
10   that the anonymous Pinterest user made their statements with actual malice
11   supported by “factual allegations” sufficient to establish the user’s state of mind. Biro,
12   963 F. Supp. 2d at 278. Conclusory allegations that amount to “a mere recitation of
13   the legal standard” do not suffice. Id. at 280 (citation omitted). But Petitioners’ motion
14   to compel does not address the actual malice standard at all or Petitioners’ status as
15   limited purpose public figures. Accordingly, Petitioners have failed to make a prima
16   facie showing of their defamation claims and their motion to compel should be denied.
17   Compare Blossoms & Blooms, Inc. v. Doe, No. 22-1557-KSM, 2022 WL 3030788 at *5
18   (E.D. Pa. July 29, 2022) (denying a motion for leave to issue a subpoena for a Facebook
19   user’s subscriber information where plaintiffs failed to establish actual malice because
20   they “offered no evidence that the statements were made with a ‘reckless disregard’
21   for the truth.”), with Castro, 2023 WL 9232964, at *5 (granting a motion to compel
22   compliance with a subpoena for subscriber information because “falsely accusing
23   someone who is running for President of being under federal criminal indictment and
24   lying about his military service, while using unreliable sources and entertaining
25   serious doubts about the truthfulness of the statements, is enough to satisfy the actual
26   malice standard.”).
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1          C.     The request for Pinterest’s user agreements is irrelevant and
2                 unduly burdensome.

3          Petitioners’ motion to compel does not address request number two in the

4    subpoena for Pinterest’s user agreements, and Pinterest therefore assumes that

5    request is withdrawn from the subpoena. To the extent it is not, it is unclear how that

6    request is relevant to any party’s claim or defense as required by Rule 26(b)(1).

7    Moreover,    Pinterest’s    user     agreements    are      publicly   available   (e.g.,

8    https://policy.pinterest.com/en/terms-of-service) and can be obtained by Petitioners

9    without any need to burden nonparty Pinterest. See Intermarine, LLC v. Spliethoff

10   Bevrachtingskantoor, B.V., 123 F. Supp. 3d 1215, 1218 (N.D. Cal. 2015) (quashing

11   subpoena to nonparty service provider for publicly available policies).

12                                  IV.     CONCLUSION
13         For the reasons stated, the Court should deny Petitioners’ motion to compel.
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     Dated: July 9, 2025                        PERKINS COIE LLP
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                                                By: /s/ Julie E. Schwartz
18                                                Julie E. Schwartz, CA Bar No. 260624
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20                                                 Attorneys for Pinterest, Inc.
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                                           PINTEREST’S OPPOSITION TO MOTION TO COMPEL
